
		OSCN Found Document:STITT v. CITY OF TULSA

					

				
  



				
					
					
						
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				STITT v. CITY OF TULSA2025 OK CR 6Case Number: M-2022-984Decided: 03/13/2025The Court of Criminal Appeals of the State of Oklahoma
Cite as: 2025 OK CR 6, __ P.3d __

				

MARVIN KEITH STITT, Appellant,
v.
THE CITY OF TULSA, Appellee.


CORRECTION ORDER


¶1 On March 6, 2025, this Court issued its opinion in the above-referenced case, affirming the Judgment and Sentence in City of Tulsa Municipal Court Citation/Case No. 7569655.

¶2 This Court's opinion issued in the above-referenced matter is corrected to add the appearances as follows:

APPEARANCES ON APPEAL -- AMICI CURIAE

ANDREW W. LESTER
SPENCER FANE LLP
9400 NORTH BROADWAY EXTENSION,
SUITE 600
OKLAHOMA CITY, OK 73114
COUNSEL FOR OKLAHOMA ASSOCIATION
OF MUNICIPAL ATTORNEYS


CHAD HARSHA
ATTORNEY GENERAL
CHEROKEE NATION
P.O. BOX 948
TAHLEQUAH, OK 74465
COUNSEL FOR CHEROKEE NATION

¶3 IT IS SO ORDERED.

¶4 WITNESS MY HAND AND THE SEAL OF THIS COURT this 13th day of March, 2025.


/s/GARY L. LUMPKIN, Presiding Judge


&nbsp;

ATTEST:
/s/John D. Hadden
Clerk




	
		
			
				
					
			
				
				
								
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